    Case 2:21-cv-05890-FWS-SK Document 227 Filed 11/28/23 Page 1 of 33 Page ID #:9212


         _________________________________________________________________
                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL
                                                                            JS-6
Case No. 2:21-cv-05890-FWS-SK                                   Date: November 28, 2023
Title: Phillip Madison Jones v. Twentieth Century Studios, Inc. et al.

Present: HONORABLE FRED W. SLAUGHTER, UNITED STATES DISTRICT JUDGE

         Melissa H. Kunig                                               N/A
          Deputy Clerk                                              Court Reporter

    Attorneys Present for Plaintiffs:                       Attorneys Present for Defendant:

           Not Present                                                Not Present

PROCEEDINGS: ORDER GRANTING DEFENDANTS’ MOTIONS FOR SUMMARY
             JUDGMENT [149] [150] [152]; GRANTING PLAINTIFF’S
             REQUEST TO WITHDRAW MOTION TO AMEND [204] [211];
             DENYING PLAINTIFF’S MOTION TO STAY [212]; AND DENYING
             PLAINTIFF’S MOTION TO COMPEL [223]

       Before the court are seven motions: (1) a Motion for Summary Judgment filed by
Defendant Creative Artists Agency, LLC (“Defendant CAA”) (Dkt. 149); (2) a Motion for
Summary Judgment filed by Defendants James Gray, Ethan Gross, and RT Features U.S. LLC
(“Writer Defendants”) (Dkt. 150); (3) a Motion for Summary Judgment filed by Defendants
20th Century Studios Inc, The Walt Disney Company, and Twentieth Century Fox Film
Corporation (“Distributor Defendants”) (Dkt. 152); (4) a Motion to Amend filed by Plaintiff
Phillip Madison Jones (“Plaintiff”) (Dkt. 204); (5) a Request to Withdraw the Motion to Amend
filed by Plaintiff (Dkt. 211); (6) a Motion to Stay filed by Plaintiff (Dkt. 212); and (7) a Motion
to Compel filed by Plaintiff (Dkt. 223). The Motions are fully briefed. (Dkts. 149-50, 152-53,
184-87, 191-204, 206-08, 210-12, 216-18, 223-24.)1
       In the operative Fourth Amended Complaint (“4AC” (Dkt. 126)), Plaintiff alleges he
authored a script called Cosmic Force (“Cosmic Force”) and Defendants copied Cosmic Force
1
 Plaintiff seeks to withdraw his Motion to Amend. (Dkts. 204, 211.) Defendants have not
opposed or otherwise filed a response to Plaintiff’s request. (See generally Dkt.) Given
Plaintiff’s request, the court GRANTS Plaintiff’s request to withdraw (Dkt. 211) and deems the
Motion to Amend WITHDRAWN. (Dkt. 204.)
____________________________________________________________________________
                                CIVIL MINUTES – GENERAL                                         1
      Case 2:21-cv-05890-FWS-SK Document 227 Filed 11/28/23 Page 2 of 33 Page ID #:9213


         _________________________________________________________________
                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

Case No. 2:21-cv-05890-FWS-SK                                   Date: November 28, 2023
Title: Phillip Madison Jones v. Twentieth Century Studios, Inc. et al.

to create the movie Ad Astra (“Ad Astra”). (Id.) Ad Astra was directed by Defendant James
Gray and released as a film starring Brad Pitt, Tommy Lee Jones, and Liv Tyler. (Id. ¶ 14.)
Based on these allegations, Plaintiff asserts four causes of action: (1) copyright infringement in
violation of 17 U.S.C. § 501; (2) contributory copyright infringement; (3) vicarious copyright
infringement; and (4) breach of implied contract. (Id.)

       Defendant CAA argues Plaintiff has forfeited his case by failing to respond to requests
for admission but that even on the merits, Plaintiff’s copyright claims fail because there is no
evidence of access, CAA had no right to control or supervise the creation of Ad Astra, and
Plaintiff had no reasonable expectation of being directly compensated by CAA. (Dkt. 149 at 8-
20.) The Writer Defendants similarly argue Plaintiff’s claims fail because there is no evidence
of access, no substantial similarity between Cosmic Force and Ad Astra, and the undisputed
facts demonstrate Ad Astra was created independently. (Dkt. 150 at 11-22.) The Distributor
Defendants raise the same arguments regarding Plaintiff’s copyright claims, and further argue
Plaintiff’s breach of implied contract claim is time-barred. (Dkt. 152 at 10-19.)

       On August 10, 2023, the court held a hearing on the Motions for Summary Judgment and
took the matters under submission. (Dkt. 209.) On October 2 and 23, 2023, the court deemed
Plaintiff’s Motion to Stay and Plaintiff’s Motion to Compel appropriate for decision without
oral argument and took the matters under submission. (Dkts. 222, 225.) Based on the state of
the record, as applied to the applicable law, Defendants’ Motions for Summary Judgment are
GRANTED, Plaintiff’s Motion to Stay is DENIED, and Plaintiff’s Motion to Compel is
DENIED. Therefore, summary judgment is granted in favor of Defendants on Plaintiff’s
claims for copyright infringement, contributory copyright infringement, vicarious copyright
infringement, and breach of implied contract.

 I.     Evidentiary Objections

      “A trial court can only consider admissible evidence in ruling on a motion for summary
judgment.” Orr v. Bank of Am., NT & SA, 285 F.3d 764, 773 (9th Cir. 2002); see also In re
Oracle Corp. Sec. Litig., 627 F.3d 376, 385 (9th Cir. 2010) (“A district court’s ruling on a
motion for summary judgment may only be based on admissible evidence.”). In the context of
____________________________________________________________________________
                              CIVIL MINUTES – GENERAL                                           2
   Case 2:21-cv-05890-FWS-SK Document 227 Filed 11/28/23 Page 3 of 33 Page ID #:9214


       _________________________________________________________________
                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES – GENERAL

Case No. 2:21-cv-05890-FWS-SK                                   Date: November 28, 2023
Title: Phillip Madison Jones v. Twentieth Century Studios, Inc. et al.

a summary judgment, a district court “must also rule on evidentiary objections that are material
to its ruling.” Norse v. City of Santa Cruz, 629 F.3d 966, 973 (9th Cir. 2010). “A court can
award summary judgment only when there is no genuine dispute of material fact. It cannot rely
on irrelevant facts, and thus relevance objections are redundant.” Burch v. Regents of Univ. of
Cal., 433 F. Supp. 2d 1110, 1119 (E.D. Cal. 2006); accord Sandoval v. Cnty. of San Diego, 985
F.3d 657, 665 (9th Cir. 2021). Additionally, “when evidence is not presented in an admissible
form in the context of a motion for summary judgment, but it may be presented in an admissible
form at trial, a court may still consider that evidence.” Burch, 433 F. Supp. 2d at 1120; see
Fraser v. Goodale, 342 F.3d 1032, 1036 (9th Cir. 2003).

       “‘[O]bjections to evidence on the ground that it is irrelevant, speculative, and/or
argumentative, or that it constitutes an improper legal conclusion, are all duplicative of the
summary judgment standard itself’ and unnecessary to consider here.” Holt v. Noble House
Hotels & Resort, Ltd, 370 F. Supp. 3d 1158, 1164 (S.D. Cal. 2019) (alteration omitted) (quoting
Burch, 433 F. Supp. 2d at 1119) (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248
(1986)); see also Sandoval, 985 F.3d at 665. “Similarly, the [c]ourt will not consider the
parties’ objections to the characterization of or purported misstatement of the evidence
represented.” Holt, 370 F. Supp. 3d at 1164 (citing Hanger Prosthetics & Orthotics, Inc. v.
Capstone Orthopedic, Inc., 556 F. Supp. 2d 1122, 1126 n.1 (E.D. Cal. 2008)). “Moreover,
Federal Rule of Evidence 403 objections are unnecessary at the summary judgment stage
because there is no jury that can be misled and no danger of confusing the issues.” Id. (citing
Montoya v. Orange Cnty. Sheriff’s Dep’t, 987 F. Supp. 2d 981, 994 (C.D. Cal. 2013)).

       “At the summary judgment stage,” the court “do[es] not focus on the admissibility of the
evidence’s form” but “instead focus[es] on the admissibility of its contents.” Fraser, 342 F.3d
at 1036 (citations omitted). Accordingly, except in the rare instances in which the objecting
party demonstrates with specificity that the subject evidence could not be produced in a proper
format at trial, the court does not consider any objections on the grounds that the evidence
“constitutes hearsay or inadmissible lay opinion, or that there is a lack [of] personal
knowledge.” Holt, 379 F. Supp. 3d at 1164 (citing Burch, 433 F. Supp. 2d at 1122); see also
Sandoval, 985 F.3d at 665-67; id. at 667 (objections for foundation “provid[e] no basis for

____________________________________________________________________________
                             CIVIL MINUTES – GENERAL                                         3
   Case 2:21-cv-05890-FWS-SK Document 227 Filed 11/28/23 Page 4 of 33 Page ID #:9215


       _________________________________________________________________
                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

Case No. 2:21-cv-05890-FWS-SK                                   Date: November 28, 2023
Title: Phillip Madison Jones v. Twentieth Century Studios, Inc. et al.

excluding the evidence” where objecting party does not provide counterparty with “notice of the
specific ground of objection and, consequently, what could be done to cure any defects”).
Relatedly, objections based on a failure to comply with the technicalities of authentication
requirements or the best evidence rule may be inappropriate. See Adams v. Kraft, 828 F. Supp.
2d 1090, 1108 n.5 (N.D. Cal. 2011) (“On summary judgment, unauthenticated documents may
be considered where it is apparent that they are capable of being reduced to admissible evidence
at trial.”); Hughes v. United States, 953 F.2d 531, 543 (9th Cir. 1992) (holding that court was
not precluded from considering declaration in awarding summary judgment even if declaration
violated best evidence rule if the underlying facts would be admissible as evidence).

       Defendants object to various portions of the declarations of Plaintiff and his business
partner, Suzanne de Passe, on the grounds that the declarations were not signed, refer to
unauthenticated documents, contain hearsay, lack foundation, contain improper lay opinion
about the film industry, contain inadmissible expert opinion about the employment status of
various individuals or the theatrical release of Ad Astra, improperly summarize documents that
are not attached or authenticated, are vague and ambiguous, and offer improper legal opinions
about whether certain communications were “confidential.” (Dkts. 191-2, 192-2, 196, 197.)
Defendants further object to Plaintiff’s characterization of various facts on the grounds that they
are disputed and misstate the evidence. (Dkt. 194.) The court finds Defendants’ objections
either lack the specificity required to demonstrate that Plaintiff’s evidence could not be
produced in an admissible form at trial and/or do not constitute cognizable legal objections, and
thus OVERRULES Defendants’ objections. See Holt, 379 F. Supp. 3d at 1164; Sandoval, 985
F.3d at 665-67; Adams, 828 F. Supp. 2d at 1008 n.5.

      Defendants also object to the declaration of Plaintiff’s expert Janet Neipris-Wille (Dkts.
185-4, 186-4) regarding whether Ad Astra and Cosmic Force are substantially similar on the
grounds that the declaration falls short of the standard for admissible expert testimony set forth
in Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 590-92 (1993). (Dkts. 191-2; 192-2.)
The court finds Defendants’ objections lack the specificity required to demonstrate that the
declaration should be stricken and could not be produced in an admissible form at trial and thus
OVERRULES Defendants’ objections. See Holt, 379 F. Supp. 3d at 1164; Sandoval, 985 F.3d

____________________________________________________________________________
                              CIVIL MINUTES – GENERAL                                           4
      Case 2:21-cv-05890-FWS-SK Document 227 Filed 11/28/23 Page 5 of 33 Page ID #:9216


         _________________________________________________________________
                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

Case No. 2:21-cv-05890-FWS-SK                                   Date: November 28, 2023
Title: Phillip Madison Jones v. Twentieth Century Studios, Inc. et al.

at 665-67; Adams, 828 F. Supp. 2d at 1008 n.5. However, the court notes it does not rely on
any legal conclusions provided by Ms. Neipris-Wille in her declaration, such as whether the
extrinsic test for copyright infringement in the Ninth Circuit is satisfied in this case. See United
States v. Diaz, 876 F.3d 1194, 1197 (9th Cir. 2017) (stating the Ninth Circuit “has repeatedly
affirmed that ‘an expert witness cannot give an opinion as to her legal conclusion, i.e., an
opinion on an ultimate issue of law’”) (quoting Hangarter v. Provident Life & Accident Ins.
Co., 373 F.3d 998, 1016 (9th Cir. 2004)).

       Finally, Defendants object to Plaintiff re-filing his declaration as well as those of Suzanne
de Passe and Janet Neipris-Wille with corrected signature pages. (Dkt. 206.) The court notes
that Plaintiff previously filed versions of these declarations with typed signatures rather than
hand-drawn ones. (See Dkts. 184-86.) Plaintiff later refiled the signature pages for these
declarations along with a motion stating that a legal assistant made a filing error when preparing
the declarations. (See Dkts. 199-203.) The court, in its discretion, declines to strike the
declarations and accepts the corrected versions filed by Plaintiff at Docket Nos. 200, 202, 203.
See Fed. R. Civ. P. 6(b)(1)(B) (“When an act may or must be done within a specified time, the
court may, for good cause, extend the time. . . on motion made after the time has expired if the
party failed to act because of excusable neglect.”).

II.     Summary of Undisputed Facts

           a. Overview of Cosmic Force

      In Cosmic Force, twenty years after Colonel Vince Decker, a national hero, is lost in
space with his crew of the starship Polaris, his son Logan Decker is sent on a secret rescue
mission by a clandestine organization called “de Facto.” (See generally Dkts. 126-2; 126-3.)
Logan is a professional military athlete who plays ProtoZone, a futuristic war-game sport
played in a stadium. (Id.) ProtoZone is watched by powerful individuals including the
President of the United States and de Facto. (Id.) Logan is recruited by de Facto to find the
Polaris. (Id.) Unbeknownst to Logan, an alien device called the Darklight is the true and secret
reason for his father’s original mission. (Id.) Various fight sequences and romantic scenes
ensue before Logan and his team find the Polaris and the Darklight. (Id.) Logan ultimately
____________________________________________________________________________
                               CIVIL MINUTES – GENERAL                                           5
   Case 2:21-cv-05890-FWS-SK Document 227 Filed 11/28/23 Page 6 of 33 Page ID #:9217


       _________________________________________________________________
                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

Case No. 2:21-cv-05890-FWS-SK                                   Date: November 28, 2023
Title: Phillip Madison Jones v. Twentieth Century Studios, Inc. et al.

fights the crew of the Polaris and his father Vince. (Id.) After he escapes the Polaris, Logan
presses a button that starts an explosion that destroys the Polaris and kills Vince. (Id.)

          b. Overview of Ad Astra

       In Ad Astra, astronaut Roy McBride is depicted as he embarks upon a dangerous mission
from Earth to the Moon, then to Mars, and then to Neptune, in search of the rogue mission
commander of the Lima Project. (See generally Dkt. 152-23.) The commander is Roy
McBride’s father, H. Clifford McBride, who was believed to have been tragically lost in space
18 years previously on a scientific mission. (Id.) Roy is sent to determine whether there are
uncontrolled releases of antimatter stemming from the Lima Project that are causing grid
failures on Earth and other human settlements. (Id.) After Roy discovers his father is alive and
that information has been hidden from him about his mission, Roy breaks rank and travels to
Neptune to bring his father home. (Id.) Although Roy succeeds in finding his father, Clifford is
uninterested in returning to Earth. (Id.) Roy is left with no choice but to let his father float into
the void of outer space to his death. (Id.) Roy returns to Earth with a newfound realization that
meaning in life is derived from those closest to him—his loved ones—rather than in scientific
exploration of outer space and decides to reconnect with his estranged wife. (Id.)

          c. Development of Ad Astra Screenplay

       In June 2007, Defendants Gray and Gross began developing a science fiction film project
that later became Ad Astra. (Dkt. 150-34 (“Writer D. SUF”) No. 3.) By November 29, 2013,
Gray and Gross completed a draft of the screenplay for Ad Astra (“November 29, 2013,
Script”). (Writer D. SUF No. 4.) By August 27, 2014, Gray wrote a new document entitled
“ADASTRAfairytale” outlining the story with new changes to Ad Astra (“August 27, 2014,
Outline”). (Writer D. SUF No. 7.) By May 22, 2015, Gray and Gross completed a new draft
script (“May 22, 2015, Script”) corresponding to the changes in the August 27, 2014, Outline.
(Writer D. SUF No. 9.)

      The May 22, 2015, Script follows the primary storyline established by the November 29,
2013, Script as modified by the August 27, 2014, Outline—astronaut Roy McBride is depicted
____________________________________________________________________________
                               CIVIL MINUTES – GENERAL                                            6
   Case 2:21-cv-05890-FWS-SK Document 227 Filed 11/28/23 Page 7 of 33 Page ID #:9218


       _________________________________________________________________
                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

Case No. 2:21-cv-05890-FWS-SK                                   Date: November 28, 2023
Title: Phillip Madison Jones v. Twentieth Century Studios, Inc. et al.

as he embarks upon a dangerous mission from Earth to the Moon, then to Mars, and then to
Neptune, in search of the Lima Project and his father. (Writer D. SUF No. 10.) Additional
revisions to the script occurred until August 10, 2017, when principal photography of Ad Astra
commenced. (Writer D. SUF Nos. 13-16.) Between March 2019 and June 2019, seven days of
additional scenes were filmed, and voice-over dialogue was recorded. (Writer D. SUF No. 17.)
Defendants maintain these changes were made without access to Cosmic Force. (Id.) On
August 29, 2019, Ad Astra premiered at the Venice Film Festival, and was theatrically released
in the United States on September 20, 2019. (Writer D. SUF No. 18.)

          d. Introduction of Ad Astra Screenplay to CAA

       Defendant CAA is a talent agency representing actors, directors, writers, producers,
musical artists, and others in film, television, music, sports, digital media, and other industries.
(Dkt. 149-1 (“CAA D. SUF”) No. 1.) In November 2013, Defendants Gray and Gross
transmitted a copy of the Ad Astra screenplay to CAA agent Roeg Sutherland. (CAA D. SUF
No. 3.) On May 22, 2015, Defendants Gray and Gross transmitted another iteration of Ad Astra
to Sutherland and fellow CAA agents Todd Feldman and John Garvey, at which point Ad Astra
was uploaded to CAA’s repository, the Literary Library System. (CAA D. SUF No. 4.) CAA
received commissions on income that its clients earned from their work on Ad Astra but did not
act as a sales agent for Ad Astra, distribute or promote the film. (CAA D. SUF Nos. 18-23.)

          e. Introduction of Cosmic Force Screenplay to CAA

      Cosmic Force was first discussed with Defendant CAA on November 10, 2015, during a
meeting at the offices of de Passe Jones Entertainment. (CAA D. SUF No. 5.) Plaintiff emailed
a copy of his screenplay to former CAA agent Cameron Mitchell on November 10, 2015,
following that meeting. (CAA D. SUF No. 6.) On September 23, 2016, Suzanne de Passe
transmitted a copy of the Cosmic Force screenplay to CAA agent Brandon Lawrence. (CAA D.
SUF No. 7.) The Cosmic Force screenplay was never uploaded to CAA’s Literary Library
System repository. (CAA D. SUF No. 8.) The Cosmic Force screenplay was not emailed to
anyone else at CAA. (CAA D. SUF No. 9.)

____________________________________________________________________________
                               CIVIL MINUTES – GENERAL                                           7
       Case 2:21-cv-05890-FWS-SK Document 227 Filed 11/28/23 Page 8 of 33 Page ID #:9219


          _________________________________________________________________
                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

Case No. 2:21-cv-05890-FWS-SK                                   Date: November 28, 2023
Title: Phillip Madison Jones v. Twentieth Century Studios, Inc. et al.

      CAA agents Cameron Mitchell and Brandon Lawrence had no involvement in Ad Astra.
(CAA D. SUF No. 10; Writer D. SUF No. 22.) Nor did CAA agents Cameron Mitchell and
Brandon Lawrence represent any individuals who worked on Ad Astra. (CAA D. SUF No. 11.)
Roeg Sutherland, Todd Feldman, and John Garvey, the CAA employees who represented
Defendant Gray on Ad Astra, did not review Cosmic Force or discuss Cosmic Force with
Mitchell, Lawrence, or anyone else at CAA. (CAA D. SUF Nos. 12-16; Writer D. SUF No.
24.) Sutherland, Feldman, and Garvey were not aware of the existence of the Cosmic Force
screenplay prior to the filing of this action. (CAA D. SUF Nos. 13, 15, 17.)

            f. Plaintiff’s Contacts with Davis Entertainment Company and Fox 21
               Television Studios

       Plaintiff alleges he met with two individuals from Davis Entertainment Company—Mike
Stein and John Davis—on February 24, 2016, regarding Cosmic Force, but it is undisputed that
Davis Entertainment Company is an independent company that does not operate as an affiliate
of Defendants. (Writer D. SUF Nos. 25-29.) Davis Entertainment Company had a deal with
Defendant Twentieth Century Fox Film Corporation in which Twentieth Century Fox Film
Corporation provided office support services, but Davis Entertainment Company was not a
subsidiary of and did not have any other corporate relationship with Twentieth Century Fox
Film Corporation. (Dkt. 152-34 (“Distributor D. SUF”) No. 7.) Mike Stein, John Davis, and
Davis Entertainment Company were not authorized to act for the Distributor Defendants and
were not involved in the making of Ad Astra. (Distributor D. SUF Nos. 9, 10.)

       Plaintiff also submitted a made-for-television version of Cosmic Force on April 7, 2016,
to Gloria Fan, an executive of Fox 21 Television Studios, a sister company to Defendant
Twentieth Century Fox Film Corporation. (Writer D. SUF No. 33.) Fan was not interested in
developing Cosmic Force, did not share Cosmic Force with anyone, had no contact with the
Writer Defendants, and had no involvement with Ad Astra. (Writer D. SUF Nos. 34-35;
Distributor D. SUF Nos. 11-15.)

III.     Legal Standard

____________________________________________________________________________
                               CIVIL MINUTES – GENERAL                                       8
   Case 2:21-cv-05890-FWS-SK Document 227 Filed 11/28/23 Page 9 of 33 Page ID #:9220


       _________________________________________________________________
                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

Case No. 2:21-cv-05890-FWS-SK                                   Date: November 28, 2023
Title: Phillip Madison Jones v. Twentieth Century Studios, Inc. et al.

      “The court shall grant summary judgment if the movant shows that there is no genuine
dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed.
R. Civ. P. 56(a). An issue of fact is “genuine” only if there is sufficient evidence for a
reasonable fact finder to find for the non-moving party. Anderson v. Liberty Lobby, Inc., 477
U.S. 242, 248 (1986). A fact is “material” if it may affect the outcome of the case, and the
“substantive law [] identif[ies] which facts are material.” Id. “Only disputes over facts that
might affect the outcome of the suit under the governing law will properly preclude the entry of
summary judgment.” Id.

      The moving party bears the initial burden of identifying the elements of the claim or
defense on which summary judgment is sought and evidence that it believes demonstrates the
absence of an issue of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). Where
the non-moving party will have the burden of proof at trial, the movant can satisfy its initial
burden by demonstrating that there is an absence of evidence to support the non-moving party’s
case. Id. at 325; see also Horphag Rsch. Ltd. v. Garcia, 475 F.3d 1029, 1035 (9th Cir. 2007)
(“The moving party bears the initial burden to demonstrate the absence of any genuine issue of
material fact.”).

       The non-moving party then “must set forth specific facts showing that there is a genuine
issue for trial.” Anderson, 477 U.S. at 250 (citation omitted); see also Far Out Prods., Inc. v.
Oskar, 247 F.3d 986, 997 (9th Cir. 2001) (In opposing summary judgment, “the non-moving
party must go beyond the pleadings and by its own evidence ‘set forth specific facts showing
that there is a genuine issue for trial’”); Jackson v. Bank of Hawaii, 902 F.2d 1385, 1389 (9th
Cir. 1990) (“The non-moving party may not oppose summary judgment by allegations but must
show specific trial-worthy facts.”). “Where the record taken as a whole could not lead a
rational trier of fact to find for the nonmoving party, there is no ‘genuine issue for trial.’”
Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986) (quoting First Nat.
Bank of Ariz. v. Cities Serv. Co., 391 U.S. 253, 289 (1968)). “In judging evidence at the
summary judgment stage, the court does not make credibility determinations or weigh
conflicting evidence.” Soremekun v. Thrifty Payless, Inc., 509 F.3d 978, 984 (9th Cir. 2007).


____________________________________________________________________________
                              CIVIL MINUTES – GENERAL                                         9
  Case 2:21-cv-05890-FWS-SK Document 227 Filed 11/28/23 Page 10 of 33 Page ID #:9221


       _________________________________________________________________
                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

Case No. 2:21-cv-05890-FWS-SK                                   Date: November 28, 2023
Title: Phillip Madison Jones v. Twentieth Century Studios, Inc. et al.

The court must draw all reasonable inferences in the non-moving party’s favor. In re Oracle
Corp., 627 F.3d at 387 (citing Anderson, 477 U.S. at 255).

        Nevertheless, “inferences are not drawn out of thin air, but from evidence.” Richards v.
Nielsen Freight Lines, 602 F. Supp. 1224, 1247 (E.D. Cal. 1985), aff’d, 810 F.2d 898 (9th Cir.
1987). “[M]ere disagreement or the bald assertion that a genuine issue of material fact exists”
does not preclude summary judgment. Harper v. Wallingford, 877 F.2d 728, 731 (9th Cir.
1989). “[S]ummary judgment will not lie if the dispute about a material fact is genuine, that is,
if the evidence is such that a reasonable jury could return a verdict for the nonmoving party.”
Anderson, 477 U.S. at 248 (internal quotation marks omitted). “By its very terms, this standard
provides that the mere existence of some alleged factual dispute between the parties will not
defeat an otherwise properly supported motion for summary judgment; the requirement is that
there be no genuine issue of material fact.” Id. at 247-48; see also United States v. Fred A.
Arnold, Inc., 573 F.2d 605, 606 (9th Cir. 1978) (“A summary judgment cannot be granted if a
genuine issue as to any material fact exists.”).

     In In re Oracle Corp., the Ninth Circuit described the burdens of proof in the summary
judgment process:

      The moving party initially bears the burden of proving the absence of a genuine issue
      of material fact. Where the non-moving party bears the burden of proof at trial, the
      moving party need only prove that there is an absence of evidence to support the
      non-moving party’s case. Where the moving party meets that burden, the burden
      then shifts to the non-moving party to designate specific facts demonstrating the
      existence of genuine issues for trial. This burden is not a light one. The non-moving
      party must show more than the mere existence of a scintilla of evidence. The non-
      moving party must do more than show there is some “metaphysical doubt” as to the
      material facts at issue. In fact, the non-moving party must come forth with evidence
      from which a jury could reasonably render a verdict in the non-moving party’s favor.
      In determining whether a jury could reasonably render a verdict in the non-moving
      party’s favor, all justifiable inferences are to be drawn in its favor.

____________________________________________________________________________
                              CIVIL MINUTES – GENERAL                                          10
  Case 2:21-cv-05890-FWS-SK Document 227 Filed 11/28/23 Page 11 of 33 Page ID #:9222


       _________________________________________________________________
                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

Case No. 2:21-cv-05890-FWS-SK                                   Date: November 28, 2023
Title: Phillip Madison Jones v. Twentieth Century Studios, Inc. et al.


627 F.3d at 387 (citations omitted).

       “[T]he plain language of Rule 56(c) mandates the entry of summary judgment . . . against
a party who fails to make a showing sufficient to establish the existence of an element essential
to that party’s case, and on which that party will bear the burden of proof at trial.” Lujan v.
Nat’l Wildlife Fed’n, 497 U.S. 871, 884 (1990) (citation omitted). “Where no such showing is
made, the moving party is entitled to a judgment as a matter of law because the nonmoving
party has failed to make a sufficient showing on an essential element of her case with respect to
which she has the burden of proof.” Id. (cleaned up).

IV.   Discussion

         a. The Admissions to Which Plaintiff Did Not Respond Are Deemed Admitted
            Under Federal Rule of Civil Procedure 36

      As a preliminary matter, the Requests for Admission to which Plaintiff did not respond
are deemed admitted under Federal Rule of Civil Procedure 36. Under Federal Rule of Civil
Procedure 36(a)(3), “[a] matter is admitted unless, within 30 days after being served, the party
to whom the request is directed serves on the requesting party a written answer or objection
addressed to the matter and signed by the party or its attorney.” Fed. R. Civ. P. 36(a)(3).
Admissions can concern “the truth of any matters within the scope of Rule 26(b)(1) relating to:
(A) facts, the application of law to fact, or opinions about either; and (B) the genuineness of any
described documents.” Fed. R. Civ. P. 36(a)(1).

       “Failure to timely respond to requests for admissions results in automatic admission of
the matters requested.” F.T.C. v. Medicor LLC, 217 F. Supp. 2d 1048, 1053 (C.D. Cal. 2002);
see also Hadley v. United States, 45 F.3d 1345, 1348 (9th Cir. 1995) (“Under Rule 36(a) of the
Federal Rules of Civil Procedure, if a party fails to answer a request for admissions within 30
days, the requested items are deemed admitted.”). “No motion to establish the admissions is
needed because Federal Rule of Civil Procedure 36(a) is self executing.” F.T.C., 217 F. Supp.
2d at 1053. Under Rule 36(b), “[a] matter admitted under this rule is conclusively established
____________________________________________________________________________
                              CIVIL MINUTES – GENERAL                                           11
  Case 2:21-cv-05890-FWS-SK Document 227 Filed 11/28/23 Page 12 of 33 Page ID #:9223


       _________________________________________________________________
                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES – GENERAL

Case No. 2:21-cv-05890-FWS-SK                                   Date: November 28, 2023
Title: Phillip Madison Jones v. Twentieth Century Studios, Inc. et al.

unless the court, on motion, permits the admission to be withdrawn or amended.” Fed. R. Civ.
P. 36(b). “Two requirements, therefore, must be met before an admission may be withdrawn:
(1) presentation of the merits of the action must be subserved, and (2) the party who obtained
the admission must not be prejudiced by the withdrawal.” Hadley, 45 F.3d at 1348.
“Unanswered requests for admissions may be relied on as the basis for granting summary
judgment.” Conlon v. United States, 474 F.3d 616, 621 (9th Cir. 2007) (citing O’Campo v.
Hardisty, 262 F.2d 621, 624 (9th Cir. 1958)).

       In this case, Defendant CAA served Plaintiff with its First Set of Requests for
Admissions on January 24, 2022. (See Dkt. 149-6 (“Elsea Decl.”) ¶¶ 4-5, Exhs. B-C.)
Plaintiff’s responses were due one month later, or by February 23, 2022, but Plaintiff did not
respond until March 7, 2022. (Id. ¶¶ 4-6, Exhs. B-D.) Plaintiff has not subsequently filed any
Rule 36(b) motion. (See generally Dkt.) Because Plaintiff failed to timely respond to
Defendant CAA’s Requests for Admission and did not move to withdraw any admissions, the
following admissions are deemed admitted by Plaintiff as to Defendant CAA:

   • “Admit that YOU never discussed with any employee, agent, or representative of CAA
     an amount of compensation for use of YOUR Cosmic Force screenplay.”
   • “Admit that YOU never discussed with any employee, agent, or representative of CAA
     any agreement to keep confidential anything discussed at the meeting held on November
     10, 2015 at de Passe Jones Entertainment among YOU, CAMERON MITCHELL, and
     DEREK DUDLEY.”
   • “Admit that CAMERON MITCHELL never communicated to YOU that he had provided
     a copy of YOUR Cosmic Force screenplay to any other employee, agent, or
     representative of CAA.”
   • “Admit that YOU never communicated with any employee, agent, or representative of
     CAA other than CAMERON MITCHELL about YOUR Cosmic Force screenplay.”
   • “Admit that no employee, agent, or representative of CAA ever communicated to YOU
     that CAA had licensed, sold, packaged, produced, distributed, or otherwise used for any
     commercial purpose YOUR Cosmic Force screenplay.”

____________________________________________________________________________
                             CIVIL MINUTES – GENERAL                                         12
  Case 2:21-cv-05890-FWS-SK Document 227 Filed 11/28/23 Page 13 of 33 Page ID #:9224


       _________________________________________________________________
                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

Case No. 2:21-cv-05890-FWS-SK                                   Date: November 28, 2023
Title: Phillip Madison Jones v. Twentieth Century Studios, Inc. et al.

   • “Admit that the first time you ever discussed YOUR Cosmic Force screenplay with any
     employee, agent, or representative of CAA was on November 10, 2015.”
   • “Admit that the first time any employee, agent, or representative of CAA ever had access
     to YOUR Cosmic Force screenplay was on November 10, 2015.”
   • “Admit that CAA did not infringe or otherwise impermissibly copy YOUR Cosmic Force
     screenplay.”
   • “Admit that CAA did not contribute to or induce the infringement or impermissible
     copying of YOUR Cosmic Force screenplay.”
   • “Admit that CAA has never had a supervisory relationship with any other
     DEFENDANT.”
   • “Admit that YOUR Cosmic Force screenplay is not substantially similar to any Ad Astra
     screenplay, film, or trailer.”

(See Elsea Decl. ¶ 5, Exh. C.)

       The court concludes the admissions provide sufficient grounds for determining that the
undisputed facts in this case warrant an entry of summary judgment in favor of Defendant CAA
on Plaintiff’s claims. However, as discussed below, even without these admissions, the court
concludes that Defendant CAA, the Writer Defendants, and the Distributor Defendants are
entitled to summary judgment based on the undisputed facts.

         b. Claim One (Copyright Infringement)

       The Ninth Circuit “recognizes three doctrines of copyright liability: direct copyright
infringement, contributory copyright infringement, and vicarious copyright infringement.”
Ellison v. Robertson, 357 F.3d 1072, 1076 (9th Cir. 2004). “To establish copyright
infringement, two elements must be proven: (1) ownership of a valid copyright, and (2) copying
of constituent elements of the work that are original.” Gray v. Hudson, 28 F.4th 87, 96 (9th Cir.
2022) (cleaned up); see also Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361
(1991). “The second prong of the infringement analysis contains two separate components:


____________________________________________________________________________
                                 CIVIL MINUTES – GENERAL                                      13
  Case 2:21-cv-05890-FWS-SK Document 227 Filed 11/28/23 Page 14 of 33 Page ID #:9225


       _________________________________________________________________
                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

Case No. 2:21-cv-05890-FWS-SK                                   Date: November 28, 2023
Title: Phillip Madison Jones v. Twentieth Century Studios, Inc. et al.

‘copying’ and ‘unlawful appropriation.’” Skidmore as Tr. for Randy Craig Wolfe Tr. v. Led
Zeppelin, 952 F.3d 1051, 1064 (9th Cir. 2020) (en banc) (citation omitted).

       “Because independent creation is a complete defense to copyright infringement, a
plaintiff must prove that a defendant copied the work.” Id. Thus, a plaintiff must show that a
Defendant copied protected elements “either through evidence of direct copying,” Bernal v.
Paradigm Talent & Literary Agency, 788 F. Supp. 2d 1043, 1052 (C.D. Cal. 2010), or a
plaintiff “can attempt to prove it circumstantially by showing that the defendant had access to
the plaintiff’s work and that the two works share similarities probative of copying,”
Rentmeester v. Nike, Inc., 883 F.3d 1111, 1117 (9th Cir. 2018), overruled on other grounds by
Skidmore, 952 F.3d 1051.

       First, as to access, a “[p]laintiff cannot create a triable issue of access merely by showing
‘bare corporate receipt’ of her work by an individual who shares a common employer with the
alleged copier.” Bernal v. Paradigm Talent & Literary Agency, 788 F. Supp. 2d 1043, 1056
(C.D. Cal. 2010) (citation omitted). “Instead, to avoid summary judgment, a plaintiff must
show that he submitted his work to an intermediary who is in a position to transmit the
plaintiff’s work to the creators of the infringing work.” Id. (citing Meta-Film Assocs., Inc. v.
MCA, Inc., 586 F. Supp. 1346, 1357 (C.D. Cal. 1984)). “The intermediary can be a person who
(1) has supervisory responsibility for the allegedly infringing project, (2) contributed ideas and
materials to it, or (3) worked in the same unit as the creators.” Id.

       Second, as to substantial similarity, “[t]his type of probative or striking similarity shows
that the similarities between the two works are due to ‘copying rather than . . . coincidence,
independent creation, or prior common source.’” Skidmore, 952 F.3d at 1064 (quoting Bernal,
788 F. Supp. 2d at 1052). “A finding of such similarity may be based on the overlap of
unprotectable as well as protectable elements.” Skidmore, 952 F.3d at 1064. “[T]he hallmark
of ‘unlawful appropriation’ is that the works share substantial similarities.” Id.

       Although the parties do not sufficiently address in their briefing whether Plaintiff owns a
valid copyright to Cosmic Force, Plaintiff’s ownership of Cosmic Force is not disputed. (See,

____________________________________________________________________________
                               CIVIL MINUTES – GENERAL                                           14
  Case 2:21-cv-05890-FWS-SK Document 227 Filed 11/28/23 Page 15 of 33 Page ID #:9226


       _________________________________________________________________
                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

Case No. 2:21-cv-05890-FWS-SK                                   Date: November 28, 2023
Title: Phillip Madison Jones v. Twentieth Century Studios, Inc. et al.

e.g., 4AC ¶ 23) (“Plaintiff registered the Script Cosmic Force with the U.S. Copyright Office on
July 29, 2020 as Registration No. TXu002212018.”)) However, the court observes that even if
the first prong of a copyright infringement claim—Plaintiff’s ownership of a valid copyright—
is not in dispute, summary judgment is appropriate as to Plaintiff’s direct copyright
infringement claim because there is a lack of evidence that Defendants copied the original
elements of Cosmic Force. Specifically, there is a lack of evidence that Defendants either had
access to the screenplay of Cosmic Force or that there are substantial similarities between
Cosmic Force and Ad Astra.

                i. There is No Genuine Dispute of Material Fact as to Lack of Direct
                   Copying

       First, although Plaintiff repeatedly argues Defendants must have copied Cosmic Force to
create Ad Astra, Plaintiff does not sufficiently cite to evidence demonstrating direct copying.
(See, e.g., Dkt. 185 at 14 (“Ad Astra copied the central storyline of Cosmic Force with such
exactness that Defendant’s claims are simply not credible . . .”).) In the absence of evidence
showing direct copying, the court interprets Plaintiff’s argument to mean that there is
circumstantial evidence of copying through either access or the existence of substantial
similarities between the works. The court thus considers whether a genuine dispute of material
fact exists as to either access or the existence of substantial similarities between Ad Astra and
Cosmic Force.

               ii. There is No Genuine Dispute of Material Fact as to Defendants’ Lack of
                   Access

       As to access, the court finds it is undisputed that Defendants lacked access to Plaintiff’s
script in two ways: (1) at least the first draft of Ad Astra and a subsequent outline were
completed by Defendants Gray and Gross before Plaintiff created Cosmic Force in the fourth
quarter of 2014; and (2) Plaintiff’s subsequent submission of Cosmic Force was to individuals
who had no involvement in the making of Ad Astra, and no evidence adequately indicates it was
shared with those who were involved.

____________________________________________________________________________
                              CIVIL MINUTES – GENERAL                                          15
  Case 2:21-cv-05890-FWS-SK Document 227 Filed 11/28/23 Page 16 of 33 Page ID #:9227


       _________________________________________________________________
                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

Case No. 2:21-cv-05890-FWS-SK                                   Date: November 28, 2023
Title: Phillip Madison Jones v. Twentieth Century Studios, Inc. et al.

       First, as to the timeline of when Ad Astra and Cosmic Force were created, it is undisputed
that Defendants Gray and Gross completed at least the first draft of Ad Astra and a subsequent
outline before Plaintiff created Cosmic Force. Specifically, Plaintiff alleges in the 4AC that he
created Cosmic Force in the fourth quarter of 2014. (See, e.g., 4AC ¶ 22.) However, it is
undisputed that Defendants Gray and Gross completed the first draft of the screenplay for Ad
Astra on November 29, 2013 (“November 29, 2013, Script”). (Writer D. SUF No. 4.) It is
further undisputed that Defendant Gray made an outline of the story of Ad Astra by August 27,
2014 (“August 27, 2014, Outline”). (Writer D. SUF No. 7.) By May 22, 2015, Defendants
Gray and Gross had completed a new draft script of Ad Astra that followed the primary
storyline established by the November 29, 2013, Script as modified by the August 27, 2014,
Outline (“May 22, 2015, Script”). (Writer D. SUF Nos. 9, 10.) Accordingly, there is no dispute
that at least the first draft of Ad Astra and a subsequent outline were created in November 2013
and August 2014 before Plaintiff created Cosmic Force in the fourth quarter of 2014.

      Moreover, it is undisputed that Defendants Gray and Gross submitted the Ad Astra
November 29, 2013, Script to a CAA agent in November 2013, and submitted the May 22,
2015, Script to additional CAA agents on May 22, 2015. (CAA D. SUF Nos. 3, 4.) By
contrast, Plaintiff first submitted a copy of Cosmic Force to Defendant CAA on November 10,
2015, and then again on September 23, 2016. (CAA D. SUF Nos. 5, 6, 7.) The Cosmic Force
screenplay was never uploaded to CAA’s Literary Library System repository and was not
emailed to anyone else at CAA. (CAA D. SUF No. 8, 9.)

      Second, it is undisputed that Plaintiff’s later submission of Cosmic Force was to
individuals who had no involvement in the making of Ad Astra. Plaintiff cites to several
contacts with individuals from Defendant CAA, Davis Entertainment Company, and Fox 21
Television Studios as evidence of access. (See, e.g., Dkt. 185 at 8-13.) However, there is no
evidence of communication or involvement between the CAA agent that Plaintiff met with—
who, in any event, did not express interest in developing Cosmic Force—and the agents who
represented Defendant Gray on Ad Astra. (CAA D. SUF Nos. 10-17; Writer D. SUF No. 22,
24.)


____________________________________________________________________________
                              CIVIL MINUTES – GENERAL                                           16
  Case 2:21-cv-05890-FWS-SK Document 227 Filed 11/28/23 Page 17 of 33 Page ID #:9228


        _________________________________________________________________
                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

Case No. 2:21-cv-05890-FWS-SK                                   Date: November 28, 2023
Title: Phillip Madison Jones v. Twentieth Century Studios, Inc. et al.

      As for Plaintiff’s contacts with individuals from Davis Entertainment Company, the
undisputed facts similarly do not adequately demonstrate access. Although Plaintiff met with
two individuals from Davis Entertainment Company—Mike Stein and John Davis—on
February 24, 2016, regarding Cosmic Force, it is undisputed that Davis Entertainment
Company is an independent company that does not operate as an affiliate of any of the
Defendants. (Writer D. SUF Nos. 25-29.) Davis Entertainment Company and its employees
were not authorized to act for the Distributor Defendants or were involved in the making of Ad
Astra. (Distributor D. SUF Nos. 7, 9, 10.)

       The same is true for Plaintiff’s contacts with Fox 21 Television Studios. Plaintiff
submitted a made-for-television version of Cosmic Force on April 7, 2016, to Gloria Fan, an
executive of a sister company to Defendant Twentieth Century Fox Film Corporation called
Fox 21 Television Studios. (Writer D. SUF No. 33.) However, Fan did not share Cosmic Force
with anyone, had no contact with the Writer Defendants, and had no involvement with Ad
Astra. (Writer D. SUF Nos. 34-35; Distributor D. SUF Nos. 11-15.) In her declaration, Fan
makes clear that she was never interested in developing Cosmic Force and merely thanked
Plaintiff for sharing his script because she “felt it was appropriate to say something polite.”
(See Dkt. 152-1 (“Fan Decl.”) ¶ 7.)

        In summary, Defendants have met their burden of demonstrating Plaintiff lacks evidence
of Defendants’ access to Cosmic Force because Ad Astra was created before Cosmic Force and
the individuals that Plaintiff shared Cosmic Force with were not involved in the making of Ad
Astra. See Celotex, 477 U.S. at 325 (where the non-moving party will have the burden of proof
at trial, the movant can satisfy its initial burden by pointing out that there is an absence of
evidence to support the non-moving party’s case). The burden therefore shifts to Plaintiff to
designate “specific facts showing there is a genuine issue for trial.” Id. at 324. The court finds
that Plaintiff, as the party with the burden of proof at trial, has failed to meet his shifted burden
of producing evidence of access. See Bernal, 788 F. Supp. 2d at 1056 (holding that a triable
issue of fact regarding access does not exist merely by showing “bare corporate receipt”);
Briggs v. Blomkamp, 70 F. Supp. 3d 1155, 1166 (N.D. Cal. 2014) (holding that “a bare
possibility of access . . . is insufficient to sustain a copyright infringement claim” and granting

____________________________________________________________________________
                               CIVIL MINUTES – GENERAL                                             17
  Case 2:21-cv-05890-FWS-SK Document 227 Filed 11/28/23 Page 18 of 33 Page ID #:9229


       _________________________________________________________________
                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

Case No. 2:21-cv-05890-FWS-SK                                   Date: November 28, 2023
Title: Phillip Madison Jones v. Twentieth Century Studios, Inc. et al.

summary judgment where “Plaintiff has not provided evidence of a chain of events sufficient to
establish a reasonable possibility of access”) aff’d sub nom. Briggs v. Sony Pictures Ent., Inc.,
714 F. App’x 712 (9th Cir. 2018). The court next considers whether a genuine dispute of
material fact exists as to substantial similarity between the two works.

               iii. There is No Genuine Dispute of Material Fact as to the Lack of
                    Substantial Similarity Between Ad Astra and Cosmic Force

       Courts in the Ninth Circuit “apply a two-part test, the extrinsic test and the intrinsic test,
to compare the similarities of ideas and expression in two works.” Kouf v. Walt Disney Pictures
& Television, 16 F.3d 1042, 1045 (9th Cir. 1994). “The extrinsic test is an objective test based
on specific expressive elements: the test focuses on ‘articulable similarities between the plot,
themes, dialogue, mood, setting, pace, characters, and sequence of events’ in two works.” Id.
(quoting Berkic v. Crichton, 761 F.2d 1289, 1292 (9th Cir. 1985)). “The test for ‘substantial
similarity of ideas’ compares, not the basic plot ideas for stories, but the actual concrete
elements that make up the total sequence of events and the relationships between the major
characters.” Berkic, 761 F.2d at 1293. “[A]s a matter of law, certain forms of literary
expression are not protected against copying” such as “the general idea for a story.” Id.
Accordingly, the fact that there is some “degree of similarity between the basic plots of two
works cannot sustain a plaintiff’s claim that the works are ‘substantially similar.’” Id. “No one
can own the basic idea for a story. General plot ideas are not protected by copyright law; they
remain forever the common property of artistic mankind.” Id.; see also Cavalier v. Random
House, Inc., 297 F.3d 815, 823 (9th Cir. 2002) (“Scenes-a-faire, or situations and incidents that
flow necessarily or naturally from a basic plot premise, cannot sustain a finding of
infringement.”) (citation omitted).

       “The intrinsic test is a subjective test that focuses on ‘whether the ordinary, reasonable
audience would recognize the defendant’s work as a ‘dramatization’ or ‘picturization’ of the
plaintiff’s work.’” Kouf, 16 F.3d at 1045 (citing Berkic, 761 F.2d at 1292). “For summary
judgment, only the extrinsic test is important. A plaintiff avoids summary judgment by
satisfying the extrinsic test which makes similarity of the works a triable issue of fact.” Kouf,
16 F.3d at 1045.
____________________________________________________________________________
                               CIVIL MINUTES – GENERAL                                            18
  Case 2:21-cv-05890-FWS-SK Document 227 Filed 11/28/23 Page 19 of 33 Page ID #:9230


       _________________________________________________________________
                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

Case No. 2:21-cv-05890-FWS-SK                                   Date: November 28, 2023
Title: Phillip Madison Jones v. Twentieth Century Studios, Inc. et al.


      In this case, the undisputed facts establish that no reasonable jury could find that Ad Astra
and Cosmic Force are substantially similar using the objective criteria of the extrinsic test.
Specifically, the undisputed facts establish that significant differences exist between the two
works as to their “plot, themes, dialogue, mood, setting, pace, characters, and sequence of
events.” Berkic, 761 F.2d at 1292.

       In this case, although Cosmic Force and Ad Astra both involve protagonists journeying to
outer space to search for lost missions helmed by their respective fathers, the court concludes
that the similarities between the two works ends there. The plot of Cosmic Force is that of an
action and/or thriller following Logan Decker, a professional military athlete who plays
ProtoZone and is recruited to find his father’s lost mission by a group of powerful trillionaires
called de Facto. (See generally Dkts. 126-2; 126-3.) Logan engages in various fight sequences
with mysterious agents wielding blasters and is the target of romantic attention from several
female characters, including the President’s daughter. (Id.) Logan ultimately locates his
father’s mission, the Polaris, and the Darklight, an alien device that was the true reason for his
father’s original mission on the Polaris and fights the crew of the Polaris and his father. (Id.)
After he escapes the Polaris, Logan presses a button that starts an explosion that destroys the
Polaris and kills his father. (Id.)

       The plot of Ad Astra is that of a drama following Roy McBride, an astronaut who
embarks upon a dangerous mission from Earth to the Moon, then to Mars, and then to Neptune,
in search of the rogue mission commander of the Lima Project. (Dkt. 152-23.) The commander
is Roy McBride’s father, H. Clifford McBride, who was believed to have been lost in space
after his craft, the Lima Project, vanished during its search for extraterrestrial life. After Roy
discovers his father is alive and that information has been hidden from him about the mission,
Roy breaks rank and travels to Neptune to bring his father home. (Id.) Roy tries to rescue his
father, but Clifford kills himself by launching himself into the abyss of space. (Id.) Roy returns
to Earth with a newfound realization that “we’re all we’ve got” in the universe and decides to
reconnect with his estranged wife. (Id.)


____________________________________________________________________________
                              CIVIL MINUTES – GENERAL                                           19
  Case 2:21-cv-05890-FWS-SK Document 227 Filed 11/28/23 Page 20 of 33 Page ID #:9231


       _________________________________________________________________
                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

Case No. 2:21-cv-05890-FWS-SK                                   Date: November 28, 2023
Title: Phillip Madison Jones v. Twentieth Century Studios, Inc. et al.

        Based on the record, the court concludes substantial similarities do not exist between the
two scripts’ themes, dialogue, mood, setting, pace, characters, or sequence of events. Cosmic
Force is replete with action scenes involving characters wielding blasters, car chases with
limousines, and romantic entanglements. (See, e.g., Dkt. 126-2 at 100 (the character Destiny,
the President’s daughter, yells “[E]at some heat!” while shooting a blaster and the script notes,
by way of explanation, “BOOSH! BOOSH! BOOSH! BOOSH! His body smokes with holes but
they REPAIR instantly”). Logan, the protagonist, is an athlete in his 20s whose role in the story
is that of an action hero. (See generally Dkt. 126-2.) Furthermore, Cosmic Force is not
intended to be a realistic depiction of the future or outer space, as underscored by the plot’s
references to the war game ProtoZone and use of Proto-Morpho-Plasm, a high-tech putty with
imprinting and morphing capabilities. (Id.) Consistent with the action and/or thriller themes,
Cosmic Force ends with an alien device detecting the Darklight and sending an ominous signal
into deeper space. (See Dkt. 126-2 at 125.)

       By contrast, Ad Astra is melancholy, dramatic, and focuses on Roy McBride’s initial
mission, discovery of mission-critical information withheld from him, and his decision to break
rank to find his father. (Dkt. 152-23.) Ad Astra is intended to be a realistic depiction of the
future, as underscored by accurate views of outer space and Earth, the use of existing space
technologies such as space suits and space shuttles, and references to space-based research.
(Id.) Roy, the protagonist, is an astronaut in his 40s who undergoes emotional maturity and
growth during the process of finding his father. (Id.) Consistent with these introspective and
dramatic themes, Ad Astra ends with Roy deciding to reconnect with his estranged wife Eve and
deciding that he will find meaning in his life through developing his emotional connections with
his loved ones. (Id.)

       In sum, the record demonstrates there is insufficient evidence that “makes similarity of
the works a triable issue of fact.” Kouf, 16 F.3d at 1045; see also id. (stating “a plaintiff who
cannot satisfy the extrinsic test necessarily loses on summary judgment, because a jury may not
find substantial similarity without evidence on both the extrinsic and intrinsic tests.”).
Moreover, the general plotline of a protagonist searching for a lost mission that was helmed by
their father is not protectable. See Berkic, 761 F.2d at 1292 (holding that substantial similarity

____________________________________________________________________________
                              CIVIL MINUTES – GENERAL                                           20
  Case 2:21-cv-05890-FWS-SK Document 227 Filed 11/28/23 Page 21 of 33 Page ID #:9232


       _________________________________________________________________
                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

Case No. 2:21-cv-05890-FWS-SK                                   Date: November 28, 2023
Title: Phillip Madison Jones v. Twentieth Century Studios, Inc. et al.

is assessed based on the “plot, themes, dialogue, mood, setting, pace, characters, and sequence
of events”); Cavalier, 297 F.3d at 824 (“[B]asic plot ideas, such as this one, are not protected by
copyright law.”) (citation omitted).

       Because Defendants have met their burden of demonstrating a lack of evidence as to
direct copyright infringement through either access or substantial similarity, the burden shifts to
Plaintiff to designate “specific facts showing there is a genuine issue for trial.” Celotex, 477
U.S. at 324. Based on the record before the court, the court finds Plaintiff has not met his
shifted burden to demonstrate a genuine issue of material fact as to whether Defendants
committed direct copyright infringement through access or substantial similarity. (See
generally Dkts. 184-86.) The court therefore GRANTS the Motion as to Plaintiff’s first cause
of action for direct copyright infringement.

         a. Claim Two (Contributory Copyright Infringement)

       Contributory copyright infringement exists when “[o]ne who, with knowledge of the
infringing activity, induces, causes or materially contributes to the infringing conduct of
another.” Ellison, 357 F.3d at 1076 (citation omitted). In short, “[a] defendant “contributorily
infringes when he (1) has knowledge of another’s infringement and (2) either (a) materially
contributes to or (b) induces that infringement.” Perfect 10, Inc. v. Visa Int’l Serv. Ass’n, 494
F.3d 788, 795 (9th Cir. 2007). The Ninth Circuit has “adopted the well-settled rule that ‘[o]ne
infringes contributorily by intentionally inducing or encouraging direct infringement.’”
Cobbler Nevada, LLC v. Gonzales, 901 F.3d 1142, 1147 (9th Cir. 2018) (quoting Perfect 10,
508 F.3d at 1170).

       “Contributory liability requires that the secondary infringer know or have reason to know
of direct infringement.” A&M Recs., Inc. v. Napster, Inc., 239 F.3d 1004, 1020 (9th Cir. 2001)
(citations and internal quotation marks omitted). “Actual knowledge exists where it can be
shown by a defendant’s conduct or statements that it actually knew of specific instances of
direct infringement.” Louis Vuitton Malletier, S.A. v. Akanoc Sols., Inc., 591 F. Supp. 2d 1098,
1106 (N.D. Cal. 2008) (citing A&M, 239 F.3d at 1020). “Constructive knowledge exists where
it can be shown a defendant should have known of the direct infringement.” Louis Vuitton, 591
____________________________________________________________________________
                              CIVIL MINUTES – GENERAL                                           21
    Case 2:21-cv-05890-FWS-SK Document 227 Filed 11/28/23 Page 22 of 33 Page ID #:9233


        _________________________________________________________________
                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

Case No. 2:21-cv-05890-FWS-SK                                   Date: November 28, 2023
Title: Phillip Madison Jones v. Twentieth Century Studios, Inc. et al.

F. Supp. 2d at 1106. “To state a claim of contributory infringement, [a plaintiff] must allege
facts showing that Defendants induce, cause, or materially contribute to the infringing conduct.”
Perfect 10, 494 F.3d at 796.

       In this case, Plaintiff does not sufficiently demonstrate how Defendants contributorily
infringed Plaintiff’s copyright through knowledge of another’s infringement and either material
contribution to or inducement of that infringement. Perfect 10, 494 F.3d at 795. Instead,
Plaintiff argues his direct copyright infringement claim should survive summary judgment
because triable questions exist as to access and substantial similarity between the two works.
Setting aside that Plaintiff does not address whether any evidence supports the elements of his
distinct contributory infringement claim, cf. L.R. 56-4, the record demonstrates that there is no
genuine dispute of material fact as to Defendants’ lack of knowledge of another’s infringement
and either material contribution to or inducement of that infringement.2 (See, e.g., Writer D.
SUF Nos. 4, 7, 9, 10, 25-29, 33-35; CAA D. SUF Nos. 3-17; Distributor D. SUF Nos. 7, 9, 10-
15.)

       Because Defendants have met their burden of demonstrating a lack of evidence as to
contributory copyright infringement, the burden shifts to Plaintiff to designate “specific facts
showing there is a genuine issue for trial.” Celotex, 477 U.S. at 324. Based on the record
before the court, the court finds Plaintiff has not met his shifted burden to demonstrate a
genuine issue of material fact as to whether Defendants committed contributory copyright
infringement. (See generally Dkts. 184-86.) The court therefore GRANTS the Motion as to
Plaintiff’s second cause of action for direct copyright infringement.

2
  The court further observes that “[s]econdary liability for copyright infringement does not exist
in the absence of direct infringement by a third party.” A&M, 239 F.3d at 1013, n.2; see also
Religious Tech. Ctr. v. Netcom On–Line Communication Servs., Inc., 907 F. Supp. 1361, 1371
(N.D. Cal. 1995) (“[T]here can be no contributory infringement by a defendant without direct
infringement by another.”). In light of the court’s finding that Plaintiff has not shown a triable
issue of fact exists as to his direct infringement claim, the court also concludes there is no
infringement to which third-party liability can attach.
____________________________________________________________________________
                               CIVIL MINUTES – GENERAL                                             22
  Case 2:21-cv-05890-FWS-SK Document 227 Filed 11/28/23 Page 23 of 33 Page ID #:9234


       _________________________________________________________________
                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

Case No. 2:21-cv-05890-FWS-SK                                   Date: November 28, 2023
Title: Phillip Madison Jones v. Twentieth Century Studios, Inc. et al.

          b. Claim Three (Vicarious Copyright Infringement)

        “Vicarious infringement is a concept related to, but distinct from, contributory
infringement.” Perfect 10, 494 F.3d at 802. “Whereas contributory infringement is based on
tort-law principles of enterprise liability and imputed intent, vicarious infringement’s roots lie
in the agency principles of respondeat superior.” Id.

        A party “infringes vicariously by profiting from direct infringement while declining to
exercise the right to stop or limit it.” Id.; see also Kevin Barry Fine Art Assocs. v. Ken Gangbar
Studio, Inc., 391 F. Supp. 3d 959, 968 (N.D. Cal. 2019) (“As to vicarious liability, one is liable
‘[1] by profiting from direct infringement while [2] declining to exercise a right to stop or limit
it.’”) (citing Grokster, 545 U.S. at 930). As to the second element of vicarious liability—also
referred to as the “control element”— “a defendant exercises control over a direct infringer
when he has both a legal right to stop or limit the directly infringing conduct, as well as the
practical ability to do so.” Perfect 10, 508 F.3d at 1173.

       In this case, Plaintiff does not sufficiently demonstrate how the Writer Defendants or
Distributor Defendants committed vicarious copyright infringement and instead only briefs this
claim as to Defendant CAA. (See Dkt. 186 at 12-14.) Plaintiff argues Defendant CAA is liable
for vicarious copyright infringement because “the relationship between the creators of Ad Astra
and CAA vary from project to project through the representation as talent, packaging agents,
and brokering financing deals” such that “there is an apparent partnership between the two
parties” and profited through compensation from CAA’s talent agreements with Defendants
Gray and Gross. (Id. at 13-14.)

       As discussed above, summary judgment is appropriate as to Plaintiff’s first claim for
direct copyright infringement because there is no genuine dispute of material fact regarding
Defendants’ lack of copying. However, even if there were a viable direct copyright
infringement claim underlying Plaintiff’s vicarious liability claim, Plaintiff does not sufficiently
cite to evidence demonstrating Defendant CAA’s vicarious liability. (See generally Dkts. 184-
86.) Specifically, Plaintiff does not sufficiently cite to evidence that Defendant CAA had a

____________________________________________________________________________
                               CIVIL MINUTES – GENERAL                                           23
  Case 2:21-cv-05890-FWS-SK Document 227 Filed 11/28/23 Page 24 of 33 Page ID #:9235


       _________________________________________________________________
                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

Case No. 2:21-cv-05890-FWS-SK                                   Date: November 28, 2023
Title: Phillip Madison Jones v. Twentieth Century Studios, Inc. et al.

right to stop or limit any direct copyright infringement and declined to exercise that right. See
Grokster, 545 U.S. at 930 (“As to vicarious liability, one is liable ‘[1] by profiting from direct
infringement while [2] declining to exercise a right to stop or limit it.’”); Ellison, 357 F.3d at
1078 (holding that to prevail on a vicarious copyright infringement claim, a plaintiff “must
show that [the defendant] derived a direct financial benefit from the infringement and had the
right and ability to supervise the infringing activity.

       In this case, it is undisputed that Defendant CAA acted as the talent agency representing
Defendants Gray and Gross and received commissions on income that its clients earned from
their work on Ad Astra. (CAA D. SUF Nos. 1, 3, 4, 18-23.) However, Defendant CAA did not
act as a sales agent for Ad Astra. (CAA D. SUF Nos. 18-23.) Nor did Defendant CAA have
any involvement in producing, directing, distributing, or promoting the film. (Id.)
Accordingly, the court concludes there is insufficient evidence in the record that Defendant
CAA, in its role as the talent agency representing Defendants Gray and Gross, “had the right
and ability to supervise the infringing activity.” Ellison, 357 F.3d at 1078.

       Because Defendants have met their burden of demonstrating a lack of evidence as to
vicarious copyright infringement, the burden shifts to Plaintiff to designate “specific facts
showing there is a genuine issue for trial.” Celotex, 477 U.S. at 324. Based on the record
before the court, the court finds Plaintiff has not met his shifted burden to demonstrate a
genuine issue of material fact as to whether Defendants committed contributory copyright
infringement. (See generally Dkts. 184-86.) The court therefore GRANTS the Motion as to
Plaintiff’s third cause of action for vicarious copyright infringement.




____________________________________________________________________________
                               CIVIL MINUTES – GENERAL                                           24
    Case 2:21-cv-05890-FWS-SK Document 227 Filed 11/28/23 Page 25 of 33 Page ID #:9236


        _________________________________________________________________
                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

Case No. 2:21-cv-05890-FWS-SK                                   Date: November 28, 2023
Title: Phillip Madison Jones v. Twentieth Century Studios, Inc. et al.

          c. Claim Four (Breach of Implied Contract)3

                i. Plaintiff’s Breach of Implied Contract Claim is Time-Barred as to
                   Defendants Twentieth Century Fox Film Corporation and The Walt Disney
                   Company

       As an initial matter, the parties dispute whether Plaintiffs’ fourth cause of action for
breach of implied contract is time-barred as to the Distributor Defendants. (See Dkt. 152 at 18-
19; 184 at 16-17.) The Distributor Defendants argue Plaintiff’s claim for breach of implied
contract is time-barred by a two-year statute of limitations because the claim accrued on
September 20, 2019, when Ad Astra was theatrically released, and expired two years later on
September 20, 2021. (Dkt. 152 at 18.) Plaintiff argues the claim is timely because Defendants
Twentieth Century Fox Film Corporation and The Walt Disney Company were not added as
defendants until January 2, 2023, based on a mistake regarding the proper parties’ identity.
(Dkt. 184 at 16-17.) Plaintiff also argues the January 2, 2023, amendment is timely because it
relates back to the date of the original pleading under Federal Rule of Civil Procedure 15
(c)(1)(C)(ii). (Id.)

       “An amendment to a pleading relates back to the date of the original pleading when . . .
the amendment changes the party or the naming of the party against whom a claim is asserted, if
Rule 15(c)(1)(B) is satisfied and if, within the period provided by Rule 4(m) for serving the
summons and complaint, the party to be brought in by amendment . . . knew or should have
known that the action would have been brought against it, but for a mistake concerning the
proper party’s identity.” Fed. R. Civ. P. 15 (c)(1)(C)(ii). The Ninth Circuit has held that “even
under [Rule 15], an amended pleading does not relate back insofar as it states claims against
newly-joined defendants.” Lewis v. Lewis, 358 F.2d 495, 502 (9th Cir. 1966). However, more
recent district court decisions have noted that there is a split among district courts in the Ninth
Circuit regarding whether Rule 15 permits the addition of a party as well as substitution. See,
e.g., Gallo v. Vivint Solar, Inc., 2021 WL 4988031, at *4, n.31 (C.D. Cal. July 19, 2021)

3
 Plaintiff’s fourth claim for breach of implied contract is only asserted as to Defendant CAA
and the Distributor Defendants. (See Dkts. 102, 124.)
____________________________________________________________________________
                              CIVIL MINUTES – GENERAL                                           25
  Case 2:21-cv-05890-FWS-SK Document 227 Filed 11/28/23 Page 26 of 33 Page ID #:9237


       _________________________________________________________________
                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

Case No. 2:21-cv-05890-FWS-SK                                   Date: November 28, 2023
Title: Phillip Madison Jones v. Twentieth Century Studios, Inc. et al.

(“There is a split among the district courts in this Circuit with respect to whether Rule
15(c)(1)(C) permits the addition of a party, as opposed to only substitution.”).

        In this case, the record before the court indicates that regardless of whether Plaintiff
initially made a mistake concerning the proper party’s identity when the Complaint was first
filed, Plaintiff was notified that Twentieth Century Fox Film Corporation was the proper party
during a telephonic conference on September 14, 2021. (Dkt. 120-1 (“Aronoff Decl.”) ¶¶ 4-9.)
Plaintiff also alleged The Walt Disney Company’s involvement in the First Amended
Complaint, which was filed on October 7, 2021. (Dkt. 67 (“FAC”) ¶ 11.) In summary, the
record reflects that Plaintiff knew that Defendants Twentieth Century Fox Film Corporation and
The Walt Disney Company were the proper parties by September 14, 2021, and October 7,
2021, but elected not to name these parties as defendants until January 2, 2023. (See generally
Dkt.)

       Accordingly, the record does not support Plaintiff’s argument that his January 2, 2023,
amendment should relate back to the Complaint, filed on July 21, 2021, based on a mistake as
to the identity of the proper party. The court thus concludes that Plaintiff’s breach of implied
contract claim is time-barred as to Defendants Twentieth Century Fox Film Corporation and
The Walt Disney Company. But even if Plaintiff’s claim were timely, summary judgment in
favor of Defendants would still be appropriate, as discussed below.

                ii. Even if the Claim Were Timely, There Is No Genuine Dispute of Material
                    Fact that Plaintiff Did Not Enter Into an Implied Contract with Defendants

       Under California law, “an idea can be the subject of an express or implied contract, and
its disclosure and submission can be consideration for a promise to pay compensation.”
Spinner v. Am. Broad. Cos., Inc., 215 Cal. App. 4th 172, 184 (2013). “In an idea submission
case . . . to prevail on a cause of action for breach of implied-in-fact contract, plaintiffs must
show (1) they clearly conditioned the submission of their ideas on an obligation to pay for any
use of their ideas; (2) the defendants, knowing this condition before the plaintiffs disclosed the
ideas, voluntarily accepted the submission of the ideas; and (3) the defendants found the ideas
valuable and actually used them—that is, the defendants based their work substantially on the
____________________________________________________________________________
                               CIVIL MINUTES – GENERAL                                          26
  Case 2:21-cv-05890-FWS-SK Document 227 Filed 11/28/23 Page 27 of 33 Page ID #:9238


       _________________________________________________________________
                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

Case No. 2:21-cv-05890-FWS-SK                                   Date: November 28, 2023
Title: Phillip Madison Jones v. Twentieth Century Studios, Inc. et al.

plaintiffs’ ideas, rather than on their own ideas or ideas from other sources.” Id.; see also Benay
v. Warner Bros. Ent., 607 F.3d 620, 629 (9th Cir. 2010), overruled on other grounds by
Skidmore, 952 F.3d at 1051 (to prevail on a claim for breach of implied contract based on a
screenplay, a plaintiff must establish the following elements: “(1) they submitted the Screenplay
for sale to Defendants; (2) they conditioned the use of the Screenplay on payment; (3)
Defendants knew or should have known of the condition; (4) Defendants voluntarily accepted
the Screenplay; (5) Defendants actually used the Screenplay; and (6) the Screenplay had
value”).

       In this case, Plaintiff bases his breach of implied contract claim on two meetings—one
with Cameron Mitchell at CAA on November 10, 2015, and another with Mike Stein at Davis
Entertainment Company on February 24, 2016. (See Dkt. 186 at 14-15; Dkt. 184 at 15-17.)
Specifically, Plaintiff argues that although neither meeting involved “direct conversation about
compensation,” in both meetings Plaintiff “shared his business objective . . . which included
selling the script and retaining ownership of his characters and intellectual property” and
Mitchell and Stein each willingly accepted the script for Cosmic Force. (Dkt. 184 at 15-16;
Dkt. 186 at 14.) Plaintiff also argues Defendant CAA and the Distributor Defendants
“substantially used” the ideas submitted by Plaintiff to create Ad Astra. (Dkt. 184 at 16; Dkt.
185 at 15.) Accordingly, for Plaintiff to prevail on his claim, there must be evidence that
Plaintiff conditioned the submission of Cosmic Force on an obligation to pay, Mitchell and
Stein knew of the condition and voluntarily accepted the submission, and Defendants found the
ideas in Cosmic Force valuable and actually used them. See Spinner, 215 Cal. App. 4th at 184.

      However, at a minimum, Plaintiff’s claim fails as to the third element—that Defendants
found the ideas in Cosmic Force valuable and actually used them—because there is no genuine
dispute of material fact that Defendants did not use the ideas in Cosmic Force. Under
California law, “[t]he framework for proving use in an idea submission claim is parallel to the
framework for showing copying in a copyright claim.” Spinner, 215 Cal. App. 4th at 186.
Accordingly, “[c]opying is usually proven circumstantially through evidence of access and
substantial similarity.” Id. As discussed above, there is no genuine dispute of material fact as
to Defendants’ lack of access and the absence of substantial similarity between Cosmic Force

____________________________________________________________________________
                              CIVIL MINUTES – GENERAL                                           27
  Case 2:21-cv-05890-FWS-SK Document 227 Filed 11/28/23 Page 28 of 33 Page ID #:9239


       _________________________________________________________________
                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES – GENERAL

Case No. 2:21-cv-05890-FWS-SK                                   Date: November 28, 2023
Title: Phillip Madison Jones v. Twentieth Century Studios, Inc. et al.

and Ad Astra. (See Section IV(b)(ii)-(iii), supra.) Moreover, there is no genuine dispute of
material fact that the two individuals on which Plaintiff’s breach of implied contract claim
hinges on—Cameron Mitchell and Mike Stein—did not share Plaintiff’s draft of Cosmic Force,
pursue developing or purchasing Cosmic Force, or have any involvement in the making of Ad
Astra.

       First as to Cameron Mitchell, Defendant CAA notes that although Mitchell is no longer
an employee of CAA, CAA tasked Wendy Packard, a current employee, with conducting an
investigation into whether Cosmic Force was ever shared with or circulated within CAA. (See
Dkt. 149-5 (“Packard Decl.”) ¶ 4.) Packard states that apart from Mitchell forwarding Cosmic
Force on to his assistant on November 11, 2015, there are no records that Cosmic Force was
ever uploaded to CAA’s Literary Library System repository. (Id. ¶¶ 5-7.) Nor are there
documents or records indicating that Mitchell discussed Cosmic Force with or transmitted the
Cosmic Force screenplay to any other employee or agent of CAA. (Id. ¶ 8.)

       Second, Mike Stein’s declaration provides that at the time he met with Plaintiff in 2016,
he worked as the Director of Development at Davis Entertainment Company. (Dkt. 150-5
(“Stein Decl.”) ¶ 2). In other words, Stein was not employed by Defendants. (Id. ¶ 2.)
(“However, I was employed by DEC, not TCFFC.”). Stein states that he met with Plaintiff and
his business partner, Suzanne de Passe, on or about February 24, 2016, to discuss various
projects, including Cosmic Force. (Id. ¶¶ 3-4). Later that day, Plaintiff emailed Stein the
screenplay of Cosmic Force, which Stein finished reading in the next day or two. (Id. ¶ 5.) On
February 27, 2016, Stein created a memo on Cosmic Force in which he gave Cosmic Force a C-
minus rating based on the following evaluation: “Premise is fine, writing is poor. No strong
characters and weak, expository dialogue.” (Id. ¶ 6.) Based on his evaluation of Cosmic Force,
Stein did not share the script with anyone and communicated to Plaintiff that Davis
Entertainment Company was not interested in Cosmic Force. (Id. ¶ 7.) Nor did Davis
Entertainment Company make any efforts to pursue, develop, or produce Cosmic Force. (Id.)

     In summary, the court concludes that there is no genuine dispute of material fact as to
Defendants’ lack of access and the absence of substantial similarity between Cosmic Force and

____________________________________________________________________________
                             CIVIL MINUTES – GENERAL                                         28
  Case 2:21-cv-05890-FWS-SK Document 227 Filed 11/28/23 Page 29 of 33 Page ID #:9240


       _________________________________________________________________
                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

Case No. 2:21-cv-05890-FWS-SK                                   Date: November 28, 2023
Title: Phillip Madison Jones v. Twentieth Century Studios, Inc. et al.

Ad Astra. (See Section IV(b)(ii)-(iii), supra.) Moreover, there is no genuine dispute of material
fact that the two individuals that Plaintiff identifies as being responsible for breaching an
implied contract did not share Plaintiff’s draft of Cosmic Force, pursue developing or
purchasing Cosmic Force, or have any involvement in the making of Ad Astra. Although
Plaintiff suggests there must be some connection between his meetings with Mitchell and Stein
and Defendants’ production of Ad Astra, “[a] reasonable possibility of access requires a
sufficiently strong nexus between the intermediary to whom the plaintiffs submitted their work
and the creator of the allegedly offending work.” Spinner, 215 Cal. App. 4th at 186. In other
words, “a bare possibility of access based on speculation, supposition, and guess work” is
insufficient for a breach of implied contract claim to survive summary judgment. Id. at 189.
The court therefore GRANTS the Motion as to Plaintiff’s fourth cause of action for breach of
implied contract.

         d. Plaintiff’s Motion to Stay (Dkt. 212)

       Plaintiff requests that the court defer consideration of Defendants’ motions for summary
judgment until additional discovery is taken regarding the May 22, 2015, Script for Ad Astra.
(See generally Dkt. 212.) Specifically, Plaintiff seeks to obtain the hard drive on which the
May 22, 2015, Script was saved so that Plaintiff can determine whether the script is a fraudulent
document. (Id. at 2.) In support of his motion, Plaintiff points to a mismatch between the
August 25, 2014, Outline’s word count and character count and the document’s metadata, and
argues this mismatch suggests that the August 25, 2014, Outline could have been created on a
different date. (Id. at 3) (noting that the metadata lists a word count of 708 words and a
character count of 4,038 characters, whereas the outline contains 841 words and 3,829
characters.) However, Plaintiff agrees that apart from the word count and character count, the
metadata confirms that the August 25, 2014, Outline was created on August 25, 2014. (See
Dkt. 218 at 2.)

       Defendants oppose on the grounds that Plaintiff’s argument is merely a “conspiracy
theory” that is contradicted by several pieces of evidence including: (1) evidence that Defendant
CAA received the script on May 22, 2015; and (2) the declarations of several CAA agents
stating that they received the script on May 22, 2015. (See generally Dkt. 217 (citing to Dkt.
____________________________________________________________________________
                              CIVIL MINUTES – GENERAL                                         29
  Case 2:21-cv-05890-FWS-SK Document 227 Filed 11/28/23 Page 30 of 33 Page ID #:9241


       _________________________________________________________________
                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

Case No. 2:21-cv-05890-FWS-SK                                   Date: November 28, 2023
Title: Phillip Madison Jones v. Twentieth Century Studios, Inc. et al.

217-1 (“Elsea Decl.”) ¶ 6 (stating that on October 7, 2022, Defendant CAA produced a May 22,
2015, email from Defendant Gray to Defendants RT Features and CAA attaching the full Ad
Astra script at documents bearing Bates numbers CAA0003187–CAA0003299); Dkt. 149-2
(“Feldman Decl.”) ¶ 4 (“On or around May 22, 2015, I received a version of the Ad Astra
screenplay by email from the script’s co-writer, James Gray”); Dkt. 149-3 (“Garvey Decl.”) ¶ 3
(same); Dkt. 149-4 (“Sutherland Decl.”) ¶ 4 (same).

       Federal Rule of Civil Procedure Rule 56(d) provides “a device for litigants to avoid
summary judgment when they had not had sufficient time to develop affirmative evidence.”
Stevens v. Corelogic, Inc., 899 F.3d 666, 678 (9th Cir. 2018) (quoting United States v. Kitsap
Physicians Serv., 314 F.3d 995, 1000 (9th Cir. 2002)). Under Rule 56(d), “[i]f a nonmovant
shows by affidavit or declaration that, for specified reasons, it cannot present facts essential to
justify its opposition,” the court may either “defer considering the motion or deny it;” “allow
time to obtain affidavits or declarations or to take discovery;” or “issue any other appropriate
order.” Fed. R. Civ. P. 56(d).

        A party requesting additional discovery under Rule 56 must: (1) “set forth in affidavit
form the specific facts it hopes to elicit from further discovery;” (2) demonstrate that “the facts
sought exist;” and (3) establish that “the sought-after facts are essential to oppose summary
judgment.” Family Home & Fin. Ctr., Inc. v. Fed. Home Loan Mortg. Corp., 525 F.3d 822, 827
(9th Cir. 2008). Generally, where “a summary judgment motion is filed so early in the
litigation” that a party has not “had any realistic opportunity to pursue discovery relating to its
theory of the case,” district courts should freely grant a Rule 56(d) motion. Burlington N. Santa
Fe. R.R. Co. v. Assiniboine & Sioux Tribes of the Fort Peck Reservation, Montana, 323 F.3d
767, 773 (9th Cir. 2003).

       In this case, the court concludes Plaintiff has not sufficiently met Rule 56(d)’s
requirements. Plaintiff provides the declaration of Yaacov Apelbaum, a computer forensic
investigator, in support of his motion. (Dkt. 212-2.) The Apelbaum declaration states that the
only way to determine when the May 22, 2015, Script was created, altered, and emailed requires
a forensic analysis of the hard drive on which the script was stored. (Id. ¶¶ 7-9.) However, the
____________________________________________________________________________
                               CIVIL MINUTES – GENERAL                                            30
  Case 2:21-cv-05890-FWS-SK Document 227 Filed 11/28/23 Page 31 of 33 Page ID #:9242


       _________________________________________________________________
                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

Case No. 2:21-cv-05890-FWS-SK                                   Date: November 28, 2023
Title: Phillip Madison Jones v. Twentieth Century Studios, Inc. et al.

declaration does not sufficiently address whether the facts sought—in other words, facts
demonstrating that the May 22, 2015, Script is a fraudulent document—actually exist and does
not establish that these facts are essential to oppose summary judgment. Indeed, Defendants
cite to multiple pieces of evidence indicating that the full script was sent on May 22, 2015, and
received by multiple CAA agents on that date. (See Dkt. 217-1 (Elsea Decl.) ¶ 6; Dkt. 149-2
(Feldman Decl.) ¶ 4; Dkt. 149-3 (Garvey Decl.) ¶ 3 (same); Dkt. 149-4 (Sutherland Decl.) ¶ 4
(same).) In light of this evidence—and the Apelbaum declaration’s lack of specificity in
identifying potential contrary evidence—Plaintiff has not adequately demonstrated there are
missing facts that should preclude entry of summary judgment.

       Moreover, the record before the court reflects that Plaintiff possessed the metadata for the
August 25, 2014, Outline by at least May 19, 2022, (see Dkt. 212 at 3) but did not move for
additional discovery until more than a year later on August 28, 2023, and after Defendants
moved for summary judgment. (See generally Dkt.) Accordingly, the court concludes that the
requirements of Rule 56(d) are not sufficiently met and thus DENIES Plaintiff’s Motion to
Stay.

         e. Plaintiff’s Motion to Compel (Dkt. 223)

       Plaintiff also moves under Federal Rule of Civil Procedure 37 to compel production of a
forensic image of the hard drive containing the May 22, 2015, Script of Ad Astra, which
Plaintiff requested from Defendants in his second set of requests for production of documents
served on August 21, 2023. (See Dkt. 223-1.) Defendants objected to Plaintiff’s discovery
requests and declined to produce documents or other materials. (Dkt. 223-2.) Defendants
oppose the Motion to Compel on the grounds that Plaintiff did not comply with any of the
procedural requirements governing discovery motions set forth in the Local Rules. (See
generally Dkt. 224). Defendants further argue the Motion to Compel is substantively frivolous
because hard drives typically contain sensitive personal information and Plaintiff’s demand to
inspect Defendants’ hard drives is harassing, disproportionate to the needs of the case, and
unwarranted. (Id.)


____________________________________________________________________________
                              CIVIL MINUTES – GENERAL                                           31
  Case 2:21-cv-05890-FWS-SK Document 227 Filed 11/28/23 Page 32 of 33 Page ID #:9243


       _________________________________________________________________
                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

Case No. 2:21-cv-05890-FWS-SK                                   Date: November 28, 2023
Title: Phillip Madison Jones v. Twentieth Century Studios, Inc. et al.

        Federal Rule of Civil Procedure Rule 37(a)(3)(B) provides that “[a] party seeking
discovery may move for an order compelling an answer, designation, production, or inspection”
if “(i) a deponent fails to answer a question asked under Rule 30 or 31; (ii) a corporation or
other entity fails to make a designation under Rule 30(b)(6) or 31(a)(4); (iii) a party fails to
answer an interrogatory submitted under Rule 33; or (iv) a party fails to produce documents or
fails to respond that inspection will be permitted—or fails to permit inspection—as requested
under Rule 34.” Fed. R. Civ. P. 37(a)(3)(B). “Upon a motion to compel discovery, the movant
has the initial burden of demonstrating relevance.” United States v. McGraw–Hill Cos., 2014
WL 1647385, at *8 (C.D. Cal. Apr. 15, 2014) (citations and internal quotation marks omitted)).
Once the minimal showing of relevance is made, “[t]he party who resists discovery has the
burden to show that discovery should not be allowed, and has the burden of clarifying,
explaining, and supporting its objections.” DIRECTV, Inc. v. Trone, 209 F.R.D. 455, 458 (C.D.
Cal. 2002). However, in some instances, it may be facially apparent even without an
evidentiary showing by an opposing party that discovery requests that seek “all documents” that
“relate to” or “refer to” broad categories seek discovery and is disproportional to the needs of
the case. See Frieri v. Sysco Corp., 2017 WL 3387713, at *10 (S.D. Cal. Aug. 4, 2017).

      In this case, the court concludes Plaintiff has not met the minimum showing that a
forensic search of Defendants’ hard drives is relevant. Litigants “may obtain discovery
regarding any matter, not privileged, that is relevant to the claim or defense of any party.” Fed.
R. Civ. P. 26(b)(1). Relevant information for purposes of discovery is information “reasonably
calculated to lead to the discovery of admissible evidence.” Brown Bag Software v. Symantec
Corp., 960 F.2d 1465, 1470 (9th Cir.1992) (citation omitted).

       Although Plaintiff argues a forensic search could demonstrate that the May 22, 2015,
Script of Ad Astra is fraudulent, the court concludes Plaintiff’s suspicion is not reasonably
calculated to lead to the discovery of admissible evidence. Plaintiff’s suspicion that the May
22, 2015, Script may have been drafted on a different date is plainly contradicted by evidence
that Defendants Gray and Gross completed and transmitted the script to several CAA agents on
May 22, 2015. (See Dkt. 217-1 (Elsea Decl.) ¶ 6; Dkt. 149-2 (Feldman Decl.) ¶ 4; Dkt. 149-3


____________________________________________________________________________
                              CIVIL MINUTES – GENERAL                                           32
  Case 2:21-cv-05890-FWS-SK Document 227 Filed 11/28/23 Page 33 of 33 Page ID #:9244


       _________________________________________________________________
                       UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES – GENERAL

Case No. 2:21-cv-05890-FWS-SK                                   Date: November 28, 2023
Title: Phillip Madison Jones v. Twentieth Century Studios, Inc. et al.

(Garvey Decl.) ¶ 3; Dkt. 149-4 (Sutherland Decl.) ¶ 4.) Accordingly, the court DENIES
Plaintiff’s Motion to Compel.

V.    Disposition

       For the reasons stated above, the court GRANTS Defendants’ Motions for Summary
Judgment (Dkts. 149, 150, 152.) Therefore, summary judgment is granted in favor of
Defendants on Plaintiff’s claims for direct copyright infringement, contributory copyright
infringement, vicarious copyright infringement, and breach of implied contract. The court
DENIES Plaintiff’s Motion to Stay (Dkt. 212) and DENIES Plaintiff’s Motion to Compel (Dkt.
223). Defendants shall lodge a proposed judgment with the court within ten (10) days of this
Order. Plaintiff may file objections to the form of the proposed judgment, if any, within ten
(10) days of Defendants lodging the proposed judgment.

      IT IS SO ORDERED.


                                                       Initials of Deputy Clerk: mku




____________________________________________________________________________
                            CIVIL MINUTES – GENERAL                                       33
